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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
__________________________________________

DONNA OWENS,

                                                            Civil Action No. _______________
                      Plaintiff,
                                                            COMPLAINT AND DEMAND
        vs.                                                 FOR JURY TRIAL

GC SERVICES, LP
                  Defendant.
__________________________________________

                                         COMPLAINT

                                       INTRODUCTION

   1. This is an action for damages brought by individual consumers for Defendant’s violations

of the Fair Debt Collection Practices Act, 15 U.S.C § 1692, et seq. (hereinafter “FDCPA”),

which prohibits debt collectors from engaging in abusive, deceptive, and unfair practices.


                                   JURISDICTION AND VENUE

   2. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1337.

Declaratory relief is available pursuant to 28 U.S.C. § 2201 and § 2202. Venue in this District is

proper in that Defendants transact business here and the conduct complained of occurred here.


                                           PARTIES

   3. Plaintiff, Donna Owens, is a natural person residing in Sanborn, Niagara County, New

York.

   4. Defendant, GC Services, Inc. (hereinafter referred to as “GC”), is a foreign corporation

organized and existing under the law of the state of Texas and is a debt collection agency

engaged in the business of collecting consumer debts in this state with its principal place of

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business located in Houston, Texas. The principal purpose of GC is the collection of consumer

debts in this state and GC regularly attempts to collect debts alleged to be due another.

   5. Defendant GC is engaged in the collection of debts from consumers using the mail and

telephone. Defendant, GC regularly attempt to collect consumer debts alleged to be due another.

Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6).



                                   FACTUAL ALLEGATIONS

   6. Within the last year, Plaintiff Donna Owens was called by Defendant GC as much as

three (3) times per hour. Said calls were made by Defendant in an attempt to annoy, harass and

badger the Plaintiff into paying an alleged consumer debt.

   7. Plaintiff suffered emotional distress due the bombardment of calls that Defendant made

to Plaintiff’s telephone.

   8. Plaintiff was afraid to answer her telephone because the Defendant used numerous

different phone numbers to call the Plaintiff and she was afraid to answer her telephone because

she was uncertain whether it was the Defendant.

   9. Plaintiff became nervous and also suffered from nausea, anxiety and loss of sleep due to

the same aforementioned harassing calls.

   10. Due the excessive number of calls, Plaintiff would sometime cry when the phone would

ring repeatedly due to the Defendant’s telephone calls.

   11. As a result of the aforementioned acts outlined above, Plaintiff suffered a great deal of

emotional distress, nausea, stress, anxiety and loss of sleep.




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                                 FIRST CLAIM FOR RELIEF

    12. Plaintiff repeats, re-alleges, and incorporates by reference paragraphs one (1) through

        twelve (11) above.

    13. Defendants violated the FDCPA. Defendant’s violations include, but are not limited to,

the following:

    14. Defendant violated 15 U.S.C. § 1692 by using false representations and deceptive means

to collect a debt.

    15. Defendant violated 15 U.S.C § 1692e by causing a bombardment of harassing telephone

calls to Plaintiffs’ home and mobile telephones.



    WHEREFORE, Plaintiff, Donna Owens, respectfully requests that judgment be entered

against Defendant, GC Services, LP, for the following:



    A. Declaratory judgment that Defendants’ conduct violated the FDCPA;

    B. Actual damages;

    C. Statutory damages pursuant to 15 U.S.C. § 1692k;

    D. Cost and reasonable attorney fees pursuant to 15 U.S.C. § 1692k;

    E. For such other and further relief as the Court may deem just and proper.




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                                  DEMAND FOR JURY TRIAL

       Please take notice that Plaintiff, Donna Owens, demand trial by jury in this action.



Dated: June 20, 2011



/s/ Carol A. Brent                                  _/s/ Jason A. Shear
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